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U.S. Department of Justice

United States Attorney

Western District of Kentucky
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February 23, 2023

Joshua Barnette

Stites and Harbison, PLLS

250 West Main Street, Suite 2300
Lexington, KY 40507-1758

RE: Bryan Douglas Conley (3:23-CR-14-DJH)

Dear Mr, Barnette:

As you are aware from our discussions, the United States does not intend to present Fed. R. Evid.
702 expert opinion testimony in the trial of Bryan Conley.

I write at this time to provide notice that the United States will present information from a digital
forensic examiner (“DFE”), Erik Vokoun, regarding the extraction contents of the cellular
devices belonging to Bryan Conley, R.W., and R.W.’s parents. The United States does not
believe that this constitutes expert testimony since we do not intend to present opinion testimony
from the witness.

I also write as a courtesy to advise you about what DFE Vokoun is expected to testify regarding
the information contained on the device believed to belong to Bryan Conley:

1. Device identifying information

2. Device location information

3. Plenty of Fish (“POF”) accounts — There are seven different POF accounts accessed by
the device. This is known because of emails, cookies, and images on the device. The
device does not detail when the accounts were created, but does detail when they were
accessed.

Username Date

8008sloose 1/28/2019 2:51:55 PM(UTC-6)
Simpleman1013__| 1/28/2019 8:30:41 AM(UTC-6)
loveiseasy678888 | 1/24/2019 6:34:13 PM(UTC-6)
Loveiseasy1198 | 10/30/2018 10:49:38 AM(UTC-5)
BryantH101B 10/3/2018 12:14:31 PM(UTC-5)
HooperB10q 10/1/2018 6:08:46 PM(UTC-5)

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4, Email accounts accessed or used from the device — There are five email accounts
accessed by the device. In addition, the extraction documents phone numbers and
accountholder names associated with the email accounts and where the email accounts
were found (user accounts for Gmail, Google, Android Chrome, TextMe, and Yahoo)

Address

Lancecebeers 10] @omatl.com

LO; Oa omall.com

ow PS

5. Images

6. Internet searches and associated dates of the searches

7. Call log

8. Text messages

9. TextMe messages

10. TextNow messages

11. And other information disclosed in “KRC221229001 Report of Examination” and the
“Bryan Conley's Samsung Galaxy 88+_Cellebrite_Report.ufdr”

Similarly, DFE Vokoun will testify about the information found on the device believed to belong
to the R.W.

1. Device location information

2. Email messages

3. Text messages

4. Images

5. Videos

6. Voicemails

7. Call log, to include deleted calls

XA On Ly) Parties v |b Timestanip Y ‘Duration | Status

2 s G To: 2157773617 1/29/2019 11:12:07 AM(UTC-6) 00:00:06 Answered u
3 ae gy To: 2136300758 Lance 1420/2019 1:57:93 AM(UTC-6) — 00:00.04 Answered ul
4 ® 3 To: S1S7773617 — Erian 1/26/2079 11:40,09 PM(UTC-6) 00:07:49 Answered ul
3 a @ To: S1S7773617 «Brian 1/28/2019 11:09:52 PMIUTC-6) 00:00:32 Answered us

8. And other information disclosed in report “KRC221229001” and the “Rachel Weller's
iPhone 8 Plus_Cellebrite_Report.ufdr”

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DFE Vokoun wiill also testify about the information found on the devices belonging to R.W.’s
mother and father.

Device location information

Text messages

Images

And other information disclosed in “KRC230113002 Technical Report,” “Robert
Weller's Apple iPhone 7 (A1660) Communications Report.ufdr,” and “Martha Weller's
Apple_iPhone 8 Plus (A1864) Communications Report.ufdr”

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Generally, DFE Vokoun will testify about the device extraction process, what was found during
the extractions (e.g. location, POF accounts, email accounts, etc.), and the associated/allied data
(e.g. date and time, whether it was deleted, etc.). The reports and extraction files referenced
above and the qualifications of the DFE Vokoun were included in prior disclosures.

In addition, I have attached a certification in accordance with Fed. R. Evid. 902(14) regarding
the extractions that DFE Vokoun conducted, which constitute “data copied from an electronic
device...authenticated by a process of digital identification.”

Please contact me if you have additional questions about the testimony regarding the forensic
examination.

MICHAEL A. BENNETT
United States Attorney

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Ft. Mitchell, Kentucky 41017
(859) 652-7034

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CERTIFICATE OF AUTHENTICITY OF DATA COPIES FROM AN
ELECTRONIC DEVICE, STORAGE MEDIA PURSUANT TO FEDERAL
RULES OF EVIDENCE 902(11) and 902(14)

I, Erik Vokoun, attest, under penalties of perjury by the laws of the United States of
America pursuant to 28 U.S.C. § 1746, that the information contained in this certification is
true and correct.

1. Iam employed by the Federal Bureau of Investigation, and my title is Digital Forensic
Examiner (DFE). I have been certified as a DFE for over two (2) years. As a DFE with
the FBI, I have training and experience acquiring evidence from digital devices, including
mobile devices. Specifically, I have attended mobile device training on the tools used for
this case.

2. Iam qualified to authenticate data copied from the electronic devices listed below
because of my experience and training, and I created or had personal involvement in the
creation of each of the digital extractions below:

riginal Devic pec D ixtraction Identifiers

Apple iPhone 8 Plus, KRCO0O0 “Full File System Extraction”

Model: D21 AP, IMEI; File system Extraction.zip

350905822665192 MDS: 53E9BACIA48ABA4ED740EECEE8C2F426
Agency Item Number: 1B6

Samsung Galaxy $8+, KRC006031 | “Physical Extraction”

Model: SM-G955U, IMEI: blkO_mmeblk0.bin

355989084777502 MDS: 49DCF11AC9545D63C67D7BB8F924ABB8

-| Agency Item Number: 1B7
bik0_sda.bin
MDS: 88409F27BA772A8DA3D4711BA8946E76

blk16_sdb.bin
MD5: 1993E15B56658E48329FE04A B0S0C5D2

bik32_sde.bin
MD5: 678944A1B22CC24136018D6A5E387CB0

bik48_sdd.bin
MD5: 9E84D73036686FB7F47CB0376C50EFSB

3. The extractions identified above were made on December 30, 2022 and January 2, 2023,
using specialized forensic acquisition technology from Cellebrite. In my training and
experience, this forensic tool creates an accurate and reliable copy of data contained on
digital devices, and I have regularly relied on this tool to acquire digital evidence in the
past.

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4, Furthermore, I know that the forensic copying process was complete and accurate
because the forensic software generated a hash (i.e., digital fingerprint) of the resulting
extraction files and because the software expressly indicated that the extraction was
successful.

5. In accordance with Federal Rule of Evidence 803(6) and 902(11), all records attached to
or referenced by this certificate:

a. were made at or near the time by a person with knowledge;
b. were kept in the course of regularly conducted activity of the FBI:
c. and making the records are a regular practice of that activity.

I further state that this certification is intended to satisfy Rules 902(11) and 902(14) of
the Federal Rules of Evidence.

Z/23]202r% SG. Mbl-~_-—~

Date Signature

